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                                                                                                      Reset Form

 1                                    UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3   '225'$6+,1&DQG                                )
     *58%+8%,1&                                      )            3:21-cv-05502
                                                            Case No: _______________
 4                                                      )
                                      Plaintiff(s),     )   APPLICATION FOR
 5                                                      )   ADMISSION OF ATTORNEY
             v.
                                                        )   PRO HAC VICE
 6   &,7<$1'&2817<2)                                )   (CIVIL LOCAL RULE 11-3)
     6$1)5$1&,6&2                                      )
 7                                                      )
                                      Defendant(s).
                                                        )
 8
         I, Donald B. Verrilli, Jr.               , an active member in good standing of the bar of
 9    District of Columbia         , hereby respectfully apply for admission to practice pro hac vice in the
                                                     &KDPEHURI&RPPHUFHRIWKH8QLWHG6WDWHVRI$PHULFDDQG
                                                                                                  
10   Northern District of California representing: &DOLIRUQLD&KDPEHURI&RPPHUFH                          in the
                                                                  Justin P. Raphael
     above-entitled action. My local co-counsel in this case is __________________________________,               an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                  LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      601 Massachusetts Avenue NW, Suite 500E                560 Mission Street, 27th Floor
14    Washington, DC 20001                                   San Francisco, CA 94105
       MY TELEPHONE # OF RECORD:                              LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 220-1100                                         (415) 512-4000
       MY EMAIL ADDRESS OF RECORD:                            LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    Donald.Verrilli@mto.com                                Justin.Raphael@mto.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 420434       .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 11/11/21                                                  Donald B. Verrilli, Jr.
22                                                                                  APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Donald B. Verrilli, Jr.                    is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 11/12/2021
                                                              UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                     October 2012
